Case 2:O4-cr-20340-.]DB Document 29 Filed 07/07/05 Page 1 of 2 Page|D 32

rN THE UNITED sTATEs DISTRICT CoURT F"~i@ WTC
FOR THE WESTERN DISTRICT oF TENNESSEE i,`,_
WESTERN DlvlsroN J'J JUL ~7 lift 7= 2h

 

  

UNITED STATES OF AMER]CA

 

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V.

MICKLE BUFORD 04cr20340-B/A

 

ORDER ON ARRAIGNMENT

 

This cause came to be heard on Q{AVL é, W§ the United States Attorney
for this district appeared on behalf of the gaternm€nt, and the defendant appeared in person and With

counsel: l

NAM r ~' - Who is Retained/Appointed.
The defendant, through counsel, Waived formal arraignment and entered a plea of not guilty.
All motions shall be filed within thirty (30) days from the date hereof unless, for good cause

shown to a District Judge, such period is extended

The defendant, (not havin ade bond) (being a st prisoner) (being a federal
prisoner) (being held Without bond pursuant to BRA of 19 4), is remanded to the custody

of the U.S. Marshal.
/__.__
55 //m.»,»=. J,A`

UNITED STATES MAGISTRATE ]UDGE

The defendant, Who is not in custody, may stand on;:Yesent bond.

CHARGES: felon in possession of firearm - 18:922(g)
Attorney assigned to Case: I-Iall

Ag@§?

         
 

UNITED sTATE D"rsrC COURT - WESTRNE D's'TRCT oFTENNESSEE

  

Notice of Distribution

This notice confirms a copy of the document docketed as number 29 in
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Stephen P. Hall

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Ste. 800

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Honorable J. Breen
US DISTRICT COURT

